Oo Fo oo Ce Bn Pe ~ Oo - a BO a - OB “ot

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 1 of 14

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

penne ene eee een nec nee nee ene ence nenenenneneeneneeeneenes X
BORANERJIR LIRIANO,
Plaintiff,
-against-
THE CITY OF NEW YORK, JOHN and JANE VERIFIED COMPLAINT

 

DOES, said names being fictitious and intended to represent
individual officers of the New York City Police Department,
Jury Trial Demanded
Defendants.

Plaintiff BORANERJIR LIRIANO, by and through his counsel, THE COHCRAN
FIRM, as and for his Verified Complaint against Defendants, respectfully set forth and allege
that:

NATURE OF THE CLAIMS

1. This is a civil action for compensatory, injunctive, punitive, and exemplary
damages for the false arrest, unlawful search and seizure, excessive force, assault, battery, civil
rights violations, malicious prosecution, negligence, recklessness and carelessness of the
Defendants.

2. This action is to redress the deprivation under the color of statute, ordinance,
regulation, custom or usage of a right, privilege and immunity secured to the Plaintiff by the
United States Constitution, particularly 4h 5" ond 14" Amendments, 42 U.S.C. Sections 1983,
1985, 1986, and 1988, Monell, and the laws and statutes of New York State.

3. This case arises out of an incident occurring on or about March 21, 2017,

4, Defendants’ conduct was knowing, malicious, wanton and in reckless disregard

of the Plaintiff's rights. It has caused and continues to cause the Plaintiff to suffer substantial

economic and non-economic harm, severe mental anguish and emotional distress.

 

 

 
 

 

Ce I mS BO I fo 7 7 OO

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 2 of 14

JURISDICTION & VENUE

5. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1343
(1-4) and 2202 as this case involves a federal question based on the Plaintiffs protected rights
under the United States Constitution, particularly the 4", 5" and 14" Amendments, 42 U.S.C.
§§ 1983 et seq, and Monell. Plaintiff further invokes the supplemental jurisdiction of this
Court to adjudicate state law claims pursuant to 28 U.S.C. § 1367. The matter in controversy
exclusive of interest and costs exceeds $100,000 (one hundred thousand dollars).

6. Venue is proper in this district under 28 U.S.C. § 1391 (b), as_ this case arises
out of an incident that occurred in Bronx County.

PARTIES

7. Plaintiff BORANERJIR LIRIANO is and was at the time of the occurrence a
New York State resident residing in Bronx County.

8. Defendant CITY OF NEW YORK (hereinafter “City Defendant”) is a
municipal corporation duly existing under and by virtue of the laws of the State of New York
and maintains its principal place of business at 100 Church Street, New York, New York
10007. As part of its function, the City Defendant supervises, owns, manages and operates the
municipal agency, NEW YORK CITY POLICE DEPARTMENT (hereinafter “NYPD”). At all
relevant times, the City Defendant “was responsible for hiring, training, momtoring and
supervising the NYPD and its employees.

9. At all relevant times, Defendants “JOHN DOES” were individual police
officers, staff, personnel and/or employees of the NYPD and representatives of the City of New
York,- and they directly participated in the unlawful activity that is the subject of this

Complaint.

 
 

Be Bf ~ Oo HY a CB

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 3 of 14

10. = At all relevant times, Defendants “JANE DOES” were individual police officers,
staff, personnel and/or employees of the NYPD and representatives of the City of New York,
and they directly participated in the unlawful activity that is the subject of this Complaint.

PROCEDURAL REQUIREMENTS

11. Within the requisite time period, the Plaintiff served a Notice of Claim against
the City of New York and the NYPD on May 19, 2017.

12. The oral examination of the Plaintiff was held on August 25, 2017 in
compliance with Section 50-H of the General Municipal Law.

13. All conditions and requirements precedent to the commencement of this action
have been complied with.

FACTUAL ALLEGATIONS

14. On or about March 20, 2017 members of the NYPD were at Plaintiff's
residence when he was not present and advised his daughter that they had a surnmons for the
Plaintiff and needed to take the Plaintiff to pay his summons at the courthouse.

15. On March 21, 2017, the officers returned to Plaintiff's residence where Plaintiff
met with the NYPD at approximately 8:00 a.m. believing he was being taken to address a
summons in Court, but he was instead taken to the 167" PCT and while there he was
questioned handcuffed, arrested, fingerprinted and booked having been accused of stabbing,
sexually assaulting and kidnapping a woman.

16. The members of the NYPD negligently investigated and improperly obtained
unreliable, untruthful and unverified information. Specifically, the “John Does” and “Jane

Does” conspired and abused process by either lying to get the Plaintiff to accompany them for

 

 

 

 
 

 

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 4 of 14

questioning under false assumption that he was being taken to pay a summons and further
denied Plaintiff the right to be represented while he was being questioned.

17. “John Does” and “Jane Does” used unreliable and incomplete information
regarding the make and model of a car as a rationale to arrest and charge Plaintiff with the
kidnapping, stabbing and sexual assault of a woman. Defendant “John and Jane Does”
questioned Plaintiff about a car that was a similar make and model to the one owned by
Plaintiff, but there was no evidence that the license plate or registration was the same.
Defendant “John and Jane Does” showed Plaintiff photographs of a car of that same make and
model, but with the license plate obscured in an attempt to coerce the Plaintiff to admit that the
car was his and that he had committed crimes that he did not commit.

18. Defendant “John Does” and “Jane Does” then ordered Plaintiff to participate in
an illegally suggestive, tainted and flawed line-up identification procedure. Plaintiff was
ordered to stand in a lineup where hats were put on everyone else in the line-up except him.
After the line-up, Plaintiff was told by Defendant “John Does” and “Jane Does” that he had
been identified as the assailant and he was badgered and pressured to just “admit it,” as
Defendant “John Does” and “Jane Does” attempted to secure a coerced false confession.

19, Plaintiff was then detained for several more hours as he was formally booked,
arrested, and arraigned on the heinous charges of Criminal Sexual Act in the 1* degree and
Sexual Abuse in the 1 degree.

20. Plaintiff pled not guilty to the charges and was held on $150,000 bail.

21. Plaintiff missed numerous days of work as a school bus driver as a result of his

illegal detention and arrest. In addition, the New York State Department of Motor Vehicles

 
 

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 5 of 14

notified Plaintiff's employer of his arrest and that the charges disqualified him from driving a
school bus. As a result, Plaintiff was suspended without pay from work.

22, Plaintiff was caused to expend approximately $10,000 to hire a criminal attorney
to defend the charges.

23. Defendants’ conduct in falsely arresting, charging and prosecuting Plaintiff on

such egregious charges tarnished Plaintiffs reputation in his community and with his

employer.

24. ~~ Plaintiff was suspended from his job as a school bus driver with the State of
New York.

25. Several weeks after his false arrest, after surveillance cameras proved. that

Plaintiff was not the assailant, all charges were dismissed against him.
ADDITIONAL FACTS

26. Defendant City of New York’s NYPD has a policy, practice and/or procedure of
inadequately training, supervising and monitoring their agents, servants, police officers,
sergeants, detectives, lieutenants, captains and/or employees regarding the proper basis for
obtaining warrants, executing warrants, arrests, arrest procedures, justification for arrests,
and/or handling arrested individuals with the proper care and safety to protect them from
unnecessary harm, This policy was in reckless disregard to the rights of citizens, like the
Plaintiff, who was not involved in any criminal wrongdoing.

27. Defendants breached their duty to ensure that the actions, activities, and
behavior of its said servants, agents, sergeants, detectives, lieutenants, captains and/or
employees conformed to a certain standard of conduct established by law for the protection of

others against unreasonable risk and harm, and that they do not conduct themselves in a manner

 

BO I I 7 Te So BE

 

 

 
 

Se ” SE oF 7 Be OT S| Be SB

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 6 of 14

that would intentionally, wantonly, and/or negligently cause injuries to others, including the
Plaintiff herein.

28. Defendants had a duty to sufficiently screen for hiring, train and supervise, at
the command, precinct and patrol levels, its servants, agents, police officers, detectives,
employees, and/or personnel so as to ensure the safety, protection, security and well-being of
persons who were in the presence, proximity, custody and/or control of the NYPD, officers,
detectives, sergeants, lieutenants and/or personnel.

29, As a result of Defendants failure to properly hire, train, and supervise their
employees, they were able to act in reckless disregard of the nghts of the Plaintiff by abusing
their role as police officers by wrongfully arresting, using excessive force, assaulting, battering,
illegally questioning and acting in a reckless and careless manner with regards to the Plaintiff's
rights,

30. Furthermore, Defendants “JOHN DOES” and “JANE DOES” had a duty to
ensure that their actions, activities and behavior conformed to a certain standard of conduct
established by law for the protection of others against unreasonable risk of harm, as well as to
conduct themselves in a manner that would not intentionally, wantonly, and/or negligently
cause injuries to others, including the Plaintiff herein.

FIRST CAUSE OF ACTION
(False Arrest under 42 U.S.C. §1983)

31. Plaintiff hereby repeats and realleges each and every allegation in the preceding
paragraphs, as if fully set forth herein.

32. The Defendants violated Plaintiff's constitutional rights under the 4th
Amendment in violation of 42 U.S.C. § 1983 by falsely arresting him without any probable

cause to believe he had committed any crime. More specifically, the Plaintiff was detained and

-6-

 

 

 
 

 

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 7 of 14

arrested based on illegally suggestive, tainted and flawed identification procedures that the
Defendants knew were unlawful. As a result, Defendants violated Plaintiff's 4° Amendment
right under the U.S. Constitution and 42 U.S.C. § § 1983, et seq.

33. Asaresult of Defendants’ actions, Plaintiff was injured, suffered mental anguish
and significant psychological injuries.

34, The resulting injuries sustained by the Plaintiff were caused solely by the
Defendants, in violation of the Plaintiff's Civil and Constitutional rights, and without any
cause, provocation, or negligence on the part of Plaintiff contributing thereto.

SECOND CAUSE OF ACTION
(Unreasonable/ Illegal Search under 42 U.S.C. § 1983 and New York State Law)

35, Plaintiff hereby repeats and realleges each and every allegation in the preceding
paragraphs, as if fully set forth herein.

36. Defendants either falsely created evidence, or negligently failed to verify that
the information they relied on to detain Plaintiff was accurate, nor did they inform the judge or
the prosecutor that the information they provided was either false or not properly verified.

37. Asa result of the foregoing, Plaintiff's rights secured under the United States
Constitution particularly the 4", 5" and 14" Amendments, 42 U.S.C. §§ 1983, 1985, 1986 and
1988, Monell, and the Laws of the State of New York were violated by the Defendants under
the color and pretense of the statutes, ordinances, regulations, customs and usages of the State
of New York and the City of New York, and under the authority of their position as law
enforcement officers.

38. As aresult of the foregoing, the Plaintiff suffered mental anguish and significant

psychological injuries.

 
 

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 8 of 14

39, The resulting injuries sustained by the Plaintiff were caused solely by the
Defendants, in violation of the Plaintiffs Civil and Constitutional! rights, and without any
cause, provocation, or negligence on the part of Plaintiff contributing thereto.

THIRD CAUSE OF ACTION
(Excessive Force under 42 U.S.C. § 1983 and N.Y. State Law)

40. Plaintiff hereby repeats and realleges each and every allegation in the preceding
paragraphs, as if fully set forth herein.

41. — Plaintiff was unlawfully placed in the custody of the NYPD and was forcibly
handcuffed, wrongfully detained, confined and arrested without just cause or provocation.

42. As aresult of the foregoing, the Plaintiff's rights secured under the United States
Constitution, particularly the 4", 5" and 14" Amendments, and the Laws of the State of New
York were violated by the Defendants under the color and pretense of the statutes, ordinances,
regulations, customs and usages of the State of New York and the City of New York, and under
the authority of their position as law enforcement officers.

43,0 As a result of the foregoing, the Plaintiff suffered mental anguish and significant
psychological injuries.

44, The resulting injuries sustained by the Plaintiff were caused solely by the
Defendants, in violation of the Plaintiff's Civil and Constitutional rights, and without any
cause, provocation, or negligence on the part of Plaintiff contributing thereto.

FOURTH CAUSE OF ACTION
(Malicious Prosecution as to Plaintiff under 42 U.S.C. § 1983 and New York State Law)

45. Plaintiff hereby repeats and realleges each and every allegation in the preceding

paragraphs, as if fully set forth herein.

 

 

 

 
 

 

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 9 of 14

46. The Defendants, their servants, agents, sergeants, detectives, lieutenants,
captains and/or employees intentionally, wantonly, maliciously and falsely prosecuted the
Plaintiff for criminal charges of which he was wholly innocent in order to cover-up the
wrongfulness of their conduct.

47, The charges brought against Plaintiff by the Defendants were solely for the
purpose of shielding and/or purportedly justifying the unconscionable arrest and unlawful
treatment and abuse perpetuated upon the Plaintiff by the Defendants, all of which are in
violation of Plaintiff's rights under the U.S. Constitution, 42 U.S.C. § 1983, et seq and New
York law.

48. Through their actions the Defendants intentionally, wantonly and malicious
prosecuted and/or caused, compelled, ordered, directed and/or permitted the malicious
prosecution of the Plaintiff, as a common criminal, causing and/or compelling him to appear in
public and in Court and falsely prosecuted the Plaintiff.

49, The charges brought against the Plaintiff were dismissed on the merits by the
Criminal Court of the City of New York on or about April 20, 2017.

FIFTH CAUSE OF ACTION
(Monell)

50. Plaintiff hereby repeats and realleges each and every allegation in the preceding

paragraphs, as if fully set forth herein.

51. At all relevant times, Defendant CITY OF NEW YORK maintained a custom,
practice and/or policy of allowing its officers and/or employees to bring false charges against
victims of illegal conduct to cover their unconstitutional acts. City Defendant also maintained a
custom, practice and/or policy of allowing its officers and/or employees of unjustly using

physical force against members of the public. City Defendant also maintained a custom,

-9-

FP 7 OT a OO 7” BH 1 ee

 
 

OF oo I - Oo Poss

Case 1:18-cv-01944-ALC-RWL Document 1 Filed 03/05/18 Page 10 of 14

practice and/or policy of allowing its officers and/or employees to prosecute malicious and
false charges against individuals without just and probably cause.

52. Their policies, customs and/or practices allowed the individually-named Police
Officer Defendants and “John and Jane Does” to act in deliberate indifference to the rights of
people like the Plaintiff under the U.S. Constitution in order to try and justify illegal conduct.

53. Asa result of the foregoing, policies, customs and/or practices, Plaintiff has
suffered and continues to suffer physical, psychological and economic harm.

SIXTH CAUSE OF ACTION
(Negligent Hiring, Training and Supervision as to Defendant City of New York
under New York State Law)

54. Plaintiff hereby repeats and realleges each and every allegation in the preceding
paragraphs, as if fully set forth herein.

55. At all relevant times, Defendant City of New York had a duty to screen
applicants for hire, retention or discharge with the NYPD those employees who are not fit,
suitable, properly trained and instructed, constituting a potential menace, hazard, or danger to
the public or otherwise, those with vicious propensities and those with emotional, physical,
psychological, biased and/or physiological traits or characteristics unsuitable, unstable, or
contraindicated for such employment.

56. At all relevant times, it was the duty of Defendant City of New York to
sufficiently hire, train, retain personnel within the NYPD’s Police Academy and at the
Command, Precinct and Patrol levels so as to sufficiently discipline, supervise, promulgate, and
put into effect appropriate rules applicable to the duties, behavior and activities of their

servants, agents, police officers, employees and/or personnel.

-10-

 

 

 
FO eS CS 7 7 OS oo CM FO

(Case 1:18-cv-01944-ALC-RWL Document 1. Filed 03/05/18 Page 11 of 14

57. Upon information and belief, Defendant John and Jane Does were improperly
trained, supervised and retained in violation of the standards set out by the NYPD Patrol Guide.

58. As a result of the Defendants’ breach of duty, the Plaintiff was caused to suffer
injuries and damages without fault or contribution by the Plaintiff.

SEVENTH CAUSE OF ACTION
(State Law Negligence)

59. Plaintiff hereby repeats and realleges each and every allegation in the preceding
paragraphs, as if fully set forth herein.

60. The Defendant CITY OF NEW YORK negligently failed to prevent the within
incidents of physical force and emotional distress by the John and Jane Doe Defendant Police
Officers who were involved, and all of whom were acting within the course and scope of their
employment for the said Defendants,

61.  Asaresult of the foregoing, the plaintiff was mjured and suffered damages.

62. This action falls within one or more of the exceptions set forth in CPLR 1602.

63. Pursuant to CPLR Section 1602(2){iv), Defendants are jointly and severally
liable for all of Plaintiff's damages, including but not limited to Plaintiff's non-economic loss,
irrespective of the provisions of the CPLR Section 1601, by reason of the fact that Defendants
owed the Plaintiff a non-delegable duty of care.

64. Pursuant to CPLR Section 1602(7), Defendants are jointly and severally liable
for all of Plaintiff's damages, including but not limited to Plaintiff's non-economic loss,
irrespective of the provisions of the CPLR Section 1601, by reason of the fact that Defendants
acted with reckless disregard of the safety of others.

65. Pursuant to CPLR Section 1602(2)(1v), the Defendants are jointly and severally

liable for all of Plaintiff's damages, including but not limited to Plaintiff's non-economic loss,

-11-

 

 

 
| oS Be 7 CB BS ee NE OT 1 I

Case 1:18-cv-01944-ALC-RWL Document 1 Filed 03/05/18 Page 12 of 14

irrespective of the provisions of the CPLR Section 1601, by reason of the fact that said
Defendants are vicariously liable for the negligent acts and omissions of each other and/or
others who caused or contributed to the Plaintiff's damages.

66. Pursuant to CPLR Section 1602(11), Defendants are jointly and severally liable
for all of Plaintiff's damages, including but not limited to Plaintiffs non-economic loss,
itrespective of the provisions of the CPLR Section 1601, by reason of the fact that Defendants
acted knowingly or intentionally, and m concert, to cause the acts or failures which are a
proximate cause of Plaintiffs injuries.

WHEREFORE, Plaintiffs pray that the Court enter judgment in their favor and against

the Defendants, containing the following relief:

A. An award of damages in an amount to be determined at trial, but in any event in
excess of the jurisdictional limit of any other court which might otherwise have jurisdiction
over this matter, plus prejudgment interest, to compensate Plaintiff for his monetary and/or
economic damages;

B. An award of damages in an amount to be determined at trial, but in any event in
excess of the jurisdictional limit of any other court which might otherwise have jurisdiction
over this matter, plus prejudgment interest, to compensate Plaintiff for all his non-monetary
and/or compensatory damages, including but not limited to, compensation for severe mental
anguish and emotional distress, humiliation, embarrassment, stress and anxiety, loss of self-
esteem, self-confidence and personal dignity, emotional! pain and suffering and other physical
and mental injuries;

C. An award of costs that Plaintiff has incurred in this action, as well as Plaintiff's

reasonable attorneys’ fees to the fullest extent permitted by law;

-|2-

 

 

 
 

TB - Oo - oT 7 CF

Case 1:18-cv-01944-ALC-RWL Document1 Filed 03/05/18 Page 13 of 14

D. An award of punitive damages against the John and Jane Doe Defendants in
both their official and individual capacities; and

E. Such other and further relief as this Court may deem just and proper.
JURY DEMAND
Plaintiff demand a trial by jury on all issues of fact and damages.

Dated: New York, New York
February 28, 2018

Respectfully Submitted,

Me

(Teasey"L. Brown (TB-4094)

THE COCHRAN FIRM
Attorneys for Plaintiff

55 Broadway, 23rd Floor
New York, New York 10006
(212) 553-9215

 

-13-

 

 
- | I

(Case 1:18-cv-01944-ALC-RWL Document 1 Filed 03/05/18 Page 14 of 14

ATTORNEY'S VERIFICATION

STATE OF NEW YORK )

).SS:

COUNTY OF NEW YORK )

I, the undersigned, am an attorney admitted to practice in the Courts of the State of New
York, and say that:

I am an attorney associated with the law firm of THE COCHRAN FIRM, attorneys for
the plaintiff. J have read the annexed COMPLAINT and know the contents thereof and the same
hre true to my knowledge, except those matters therein which are stated to be alleged upon
information and belief, and as to those matters I believe them to be true. My belief, as to those
matters therein not stated upon knowledge, is based upon the following: investigation, interviews
with client, records, reports, documents, correspondence, data, memoranda, etc., contained in the
file.

The reason J make this verification instead of plaintiff, is that the plaintiff reside out of
the County of New York, wherein I maintain my offices.

1 affirm that the foregoing statements are true under the penalties of perjury.

Dated: New York, New York
March 1, 2018

 

 

 

 

 
